CaSe: 2217-CI’-OOJ_92-|\/|HW DOC #Z 25 Filed: 02/01/18 Page: l Of 8 PAGE|D #Z 57

AO 245B (Rev. 09/17) .Tudgmeot in a Criminal Case
Sheet 1

UNITED STATES DISTRICT COURT

Southern District of Ohio

 

 

 

 

 

UNITED STATES OF Al\/[E`.RICA § JUDGMENT IN A CRIM]NAL CASE
V. )
Gregory R. Lee § Case Number: 2:17cr192
) UsM Number: 76339-061
)
) Steven S. No|der
) Defendant’s Attoroey

THE DEFENDANT:

Mpleaded guilty w coum(S) 1 of the |nformation

|:l pleaded nolo contendere to count(s)

Which was accepted by the court.

l:l Was found guilty on count(s)

after a plea of not guilty.

The defendant is adjudicated guilty of these oi`fenses:

Title & Section Nature of Offense Ofl'ense Ended Count
18 U.S.C. §§ 2251(a) Production 'of Chi|d Pomography 5131/2017 § 1
and 2251 (e)

The defenth is sentenced as provided in pages 2 through 7 of this judgment The sentence is imposed pursuant to

the Sentencing Reform Act of 1984.

I:] Thc defendant has been found not guilty on count(s)

l:l Count(s) I:l is l:l are dismissed on the motion of the United States.

 

_ It is ordered that the defendant must notify the United States attorney for this district within 30 da s of_any change ofname, residence,
or marlin address until all iines, restitution, costs, and special assessments imposed by this judgment are ypald. If ordered to pay resutuuon,
the defen ant must notify the court and United States attorney of material changes m economlc circumstances

 

 

1118/2018
si_ bfng "

Michae| H. Watson, United States District Judge
Name and 'I`itle of Judge

oft/id /, ama

CaSe: 2217-Cl’-OOJ_92-|\/|HW DOC #Z 25 Filed: 02/01/18 Page: 2 Oi 8 PAGE|D #Z 58

AO 245B (Rev. 09/17) Judgmeot in Criminal Case
Sheet 2 _ Imprisonment

Judgment _ Page 2 of 7

DEFENDANT: Gregory R. Lee
CASE NUMBER: 2:17cr192

IMPRISONMENT

The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
term of:

262 months

m Thc court makes thc following recommendations to the Bureau of Prisons:

That the defendant shall participate in a mental health evaluation and/or mental health counseling at the direction of the
Bureau of Prisons; the defendant shall be placed in FC| Elkton; the defendant shall participate in a sex offender program at
the direction of the Bureau of Prisons.

g The defendant is remanded to the custody of the United States Marshal.

I:l The defendant shall surrender to the United States Marshal for this district:
|:l at |:l a.m. |:| p.m. on
l:l as notified by the United States Marshal.

l:l The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

l:l before 2 p.m. on

 

|:\ as notiEed by the United States Marshal.

|:l as notified by the Probation or Pretrial Services Oftice.

 

 

 

RETURN
I have executed this judgment as follows:
Defendant delivered on to
at , with a certified copy of this judgment
UN'ITED STATES MARSHAL
By

 

DEFUTY UNlTED STATES MARSHAL

CaSe: 2217-Cl’-OOJ_92-|\/|HW DOC #Z 25 Filed: 02/01/18 Page: 3 Oi 8 PAGE|D #Z 59

AO 245B (Rev. 09[17) .Tsudgment' m a Crimioal Case
f Supervised Release

ludg,m-t_Page L of _:____
DEFENDANT: Gregory R. Lee
CASE NUMBER: 2:17cr192
SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of :

20 years

MANDATORY CONDITIONS

1_ You must not commit another federal, state or local crime.
You must not unlawfully possess a controlled substance.

3. You must refrain from any unlawful use of a controlled substance You must submit to one drug test within 15 days of release from
imprisonment and at least two periodic drug tests thereafter, as determined by the court.

E] The above drug testing condition is suspended, based on the court's determination that you
pose a low risk of future substance abuse. (check z;fapplr'cable)
4_ |:l You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
restitution (check ifapplicable)
5. M You must cooperate in the collection of DNA as directed by the probation officer. (check grapplic¢b!e)
l!i You must comply with the requirements of the Sex Offender Regisl:ration and Notification Act (42 U.S.C. § 16901, et seq.) as
directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
residc, work, are a student, or were convicted of a qualifying offense. (checic Vapplicable)

7_ I:| You must participate in an approved program for domestic violence. (check g°appiicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.

CaSe: 2217-Cl’-OOJ_92-|\/|HW DOC #Z 25 Filed: 02/01/18 Page: 4 Oi 8 PAGE|D #Z 60

AO 245B (Rev. 09/17} Judgmllt in a Criminal Casc
Shcct 3A _ Supcl'vised Relllse

Judgment_Page 4 of l
DEFENDANT: Gregory R. Lee
CASE NUMBER: 2:17cr192

STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition

l. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
frame.

2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
when you must report to the probation officer, and you must report to the probation officer as instructed

3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the

court or the probation officer.

You must answer truthfully the questions asked by your probation oflicer.

You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living

arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If` notifying

the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72

hours of becoming aware of a change or expected change.

6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
take any items prohibited by the conditions of your supervision that he or she observes in plain view.

7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
you from doing so. If you plan to change where you work or anything about your work (such as your position or your j ob
responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
becoming aware of a change or expected change.

8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
probation officer.

9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).

ll. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
first getting the permission of the court.

12. If the probation officer determines that you pose a risk to another person (including an organization), the probation ofEcer may
require you to notify the person about the risk and you must comply with that instruction The probation officer may contact the
person and confirm that you have notified the person about the risk.

13. You must follow the instructions of the probation officer related to the conditions of supervision

§-":'*

U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions For further information regarding these conditions, see Overvz'ew of Probation and Supervz'sed

Release Conditions, available at: www.uscourts.gov.

Defendant's Signature Date

 

CaSe' 2'17-Cl’-OOJ_92-|\/|HW DOC #Z 25 Filed: 02/01/18 Page: 5 Oi 8 PAGE|D #Z 61

AO 245B(Rev. 09)'17) .Tudgment' m a Crimioal Case
Sheet 3D _ Supervised Release

JudgmentiPage 5 of F

DEFENDANT: Gregory R. Lee
CASE NUMBER: 2:17cr192

SPECIAL CONDITIONS OF SUPERVISION

The defendant shall not view or possess material, images, videos or computer files containing sexually explicit conduct as
defined by 18 U.S.C. §§ 2256(2)(A) and (B).

The defendant shall submit to the installation of software, and to monitor computer activities on any computer he is
authorized to use at his own expense. The software will record any and all activities on the defendant's computer. The
software will be checked on a periodic basis. Defendant has no expectations of privacy regarding computer use or
information stored on the computer and shall make other users of said computer aware of the monitoring software. The
defendant understands and agrees that information gathered by said software may be used against the defendant in
subsequent Court actions regarding the defendant's computer use and conditions of supervision. Furthen'nore, the
defendant must comply with the rules set forth in the Computer and lnternet Monitoring Agreement and the Computer and
lnternet Acceptable Use Agreement as adopted by the Southern District of Ohio.

The defendant shall not indirectly or indirectly gain access in any manner to any computer that does not have monitoring
capabilities

The defendant shall participate in sexual offender treatment, to include a sex offender risk assessment psychosexual
evaluation and/or other evaluation as needed. He shall also be subject to periodic polygraph examinations at the
discretion and direction of the probation officer and at his expense. He shall follow the rules and regulations of the sex
offender treatment program as implemented by the probation oche. Defendant shall sign all necessary authorization
forms to release conndential information so that treatment providers, probation ofHoers, polygraph examiners and others
(as necessary) are allowed to communicate openly about the defendant and his relapse prevention plan. The defendant
will make a co-payment for treatment services not to exceed $25.00 per month which is determined by defendant's ability

to pay.

ln consideration of 18 U.S.C. § 3583(d)(3)r the defendant shall submit andlor surrender any media device, to which they
have access and/or control, to a search based on reasonable suspicion or contraband or evidence of a violation of a
condition of supervision. A media device is defined as, but not limited to, any device which is capable of accessing
internetl storing images text, or other forms of electronic communication.

The defendant shall have no contact with the victim or the victim's family.

CaSe: 2217-Cl’-OOJ_92-|\/|HW DOC #Z 25 Filed: 02/01/18 Page: 6 Oi 8 PAGE|D #Z 62

AO 245B (Rev. 09/]7] .Tudgment in a Criminal Case
Sheet 5 _ Criminal Monetary Penaltics

 

Judgmllt-Page 6 of 7
DEFENDANT: Gregory R. Lee
CASE NUMBER: 2:17cr192

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment JVTA Assessmeot* Fine Restitution
TOTALS $ 5,100.00 $ $ 10,000.00 $
I:I The determination of restitution is deferred until . An Amended Judgment in a Crr'mr'nal Case (AO 245(,') will be entered
after such determination

|:l Thc defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each pa ee shall receive an approximateljbpro crtioned ayrnent, unless specified otherwise i_n
the priority or_dcr or percentage payment column elow. However, pursuant to 18 .S. . § 3664 1), all nonfederal v1ct1ms must be pard
before the United States rs pard.

Name of Payee Total Loss** Restitution Ordered Priorit_r; or Percentage
TOTALS $ 0.00 $ 0.00

Restitution amount ordered pursuant to plea agreement $

The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

m The court determined that the defendant does not have the ability to pay interest and it is ordered that:
E] the interest requirement is waived for the M inc |:l restitution

|:| the interest requirement for the |:l fine l:| restitution is modified as follows:

* Justice for Victims of Traffickin Act of2015, Pub. L. No. 114-22.
** Findings for the total amount o losses are required under Chaptcrs 109A, 110, 110A, and ll3A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.

CaSe: 2217-Cl’-OOJ_92-|\/|HW DOC #Z 25 Filed: 02/01/18 Page: 7 Oi 8 PAGE|D #Z 63

AO 245B (Rev. 09/17} Judgment in a Criminal Case

Sheet 6 _ Schednle ofPayments
Judgment _ Page 7 of 7

DEFENDANT: Gregory R. Lee
CASE NUMBER: 2:17cr192

SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A m Lump sum payment of $ 15’100-00 _ due immediately, balance due
|'_'| not later than , or
|:] in accordance with |:| C, |:] D, |§ E, or m F below; or
B I___I Payment to begin immediately (may be combined with |:l C, l:| D, or I:l F below); or
C I:l Payment in equal _ (e.g., weekly, monthly, guarterly) installments of $ over a period of
(e.g.. months or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or
D [:l Payment in equal (e.g., weekly, monthly, quar~reriy) installments of $ over a period of
(e.g., months or years), to commence (e_g., 30 or 60 days) aRer release from imprisonment to a

term of supervision; or

E E/ Payment during the term of supervised release will commence within 60 (e.g., 30 or 60 days) aRer release nom

F E

imprisonment The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; cr

Special instructions regarding the payment of criminal monetary penalties:

[x] lf the defendant while incarcerated, is working in a non-UNlCOR or grade 5 UNlCOR job, the defendant shall
pay $25.00 per quarter toward defendant's monetary obligation lf working in a grade 1-4 UNlCORjob, defendant
shall pay 50% of defendant's monthly pay toward defendant's monetary obligation. Any change in this schedule
shall be made only by order of this Court.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment pa ent of criminal monetary penalties is due during

the period of imprisonment All crrmmal monetary penalties, except those payments ma e through the Federal Bureau of Prisons’ Inmate

Financial Responsibility Program, are made to the clerk of the court

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed

l:l Joint and Several
Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
and corresponding payee, if appropriate

l:l The defendant shall pay the cost of prosecution

I:l The defendant shall pay the following court cost(s):

m The defendant shall forfeit the defendant's interest in the following property to the United States:

Payments shall be applied in the following order: (l) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine

As described in the plea agreement

interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.

CaSe: 2217-CI’-OOJ_92-|\/|HW DOC #Z 25 Filed: 02/01/18 Page: 8 Of 8 PAGE|D #Z 64

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRIC'I` OF OHIO

8/13}01: POLICY CHANGE RESTRICT]NG PUBLIC DISCLOSURE
______-_____________
OF THE STATEMENT OF REASONS PAGE IN THE JUDGMENT

 

DISTRIBUTION OF
THE JUDGMENT AND COMMITMENT
WITH THE STATEMENT OF REASONS PAGE
AND THE DENIAL OF FEDERAL BENEFITS
PAGE IS LIMTED TO.'

DEFENSE COUNSEL
UNITED STATES ATTORNEY

U.S.A.'s FINANCIAL LITIGATION UNIT

UNITED STATES PROBATION
UNITED STATES PRE'TRIAL
UNITED STATES SENTENCING COMMISSION
(IF A TERM OF IMPRISONMENT, THEN ALSO THE
FEDERAL BUREAU OF PRISONS)

THE CLERK OF COURTS W[LL MA.INTAIN THE OFFICIAL VERSION
OF

THE STA T.EMENT O.F REASONS PA GE
AND
T}E' DENL¢L OF FEDE]ML BENEFITS PAGE

_______-________

SEALED ]N A SECURE LOCATION SEPARA'I'ELY FROM
THE PUBLIC CASE FILE

